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 8                                 UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
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11 UNITED STATES OF AMERICA,
                                                           NO. CR S-09-0125 KJM
12                   Plaintiff,
13           v.                                            ORDER
14 SARTAJ CHAHAL,
15               Defendant.
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17                   On March 30, 2012 defendant filed a request to unseal the transcript of the
18 February 8, 2010 hearing (ECF 111) for the purpose of inclusion in his appeal. The government
19 has opposed this request. While the filing of a notice of appeal “confers jurisdiction on the court
20 of appeals and divests the district court of its control as to aspects of the case involved in
21 appeal,” Griggs v. Provident Consumer Discount Co., 459 U.S. 56, 58 (1982), assembling the
22 record is not such an aspect.
23                   Accordingly, the government is ordered to file a copy of the February 8, 2010
24 hearing transcript under seal, with a copy to appellate counsel, Charles Bonneau.
25 DATED:         April 19, 2012.
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28                                                UNITED STATES DISTRICT JUDGE
